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                    IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

DAIMEON MOSLEY,
       Plaintiff,
                                              Case No.
v.
                                              Hon.
OD OF MICHIGAN, INC., d/b/a
OFFICE DEPOT, a Delaware
corporation,
       Defendant.
                                          /

     COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

      Plaintiff Daimeon Mosley, through his undersigned counsel, states the

following in support of his complaint for declaratory and injunctive relief to

remedy discrimination by OD of Michigan, Inc. based on plaintiff’s disability in

violation of Title III of the Americans with Disabilities Act of 1990, 42 U.S.C. §§

12181 et seq. (“ADA”), and its implementing regulation, 28 C.F.R. Part 36:

                          JURISDICTION AND VENUE

1.    This Court has jurisdiction over this action pursuant to 42 U.S.C. § 2000a-

3(a), 28 U.S.C. § 1331, and 28 U.S.C. § 1343.




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2.     Venue is appropriate in this district under 28 U.S.C. § 1391 because the acts

of discrimination occurred in this district, and the property that is the subject of this

action is in this district.

                                       PARTIES

3.     Plaintiff is a resident of Maricopa County, Arizona.

4.     Defendant is a corporation with its registered office located at 28175

Haggerty, Novi, MI 48377.

5.     Upon information and belief, defendant owns or operates Office Depot

whose locations qualify each as a “Facility” as defined in 28 C.F.R. § 36.104.

                              FACTUAL ALLEGATIONS

6.     Plaintiff incorporates the above paragraphs by reference.

7.     Plaintiff is an individual with numerous disabilities, but in no way limited to,

permanent paralysis, degenerative discs and scoliosis caused by his being infected

with the West Nile Virus in 2003. These conditions cause plaintiff to suffer from

sudden onsets of severe pain, experience seizures and require plaintiff to use a

mobility device, all of which substantially limits plaintiff’s major life activities.

8.     At the time of plaintiff’s initial visit to Office Depot (and prior to instituting

this action), plaintiff suffered from a qualified disability under the 28 C.F.R.

36.104.


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9.     Plaintiff was denied full and equal access and enjoyment of the services,

goods and amenities due to barriers present at each Facility and a failure of

defendant to make reasonable accommodations.

10.    Plaintiff would return to each Facility if defendant modifies the Facility and

its policies and practices to accommodate individuals who have physical

disabilities, but he is deterred from returning due to the discriminatory conditions

at each Facility.

                      COUNT I
 REQUEST FOR DECLARATORY JUDGMENT UNDER 28 U.S.C. § 2201

11.    Plaintiff incorporates the above paragraphs by reference.

12.    This Court is empowered to issue a declaratory judgment regarding: (1)

defendant’s violation of 42 U.S.C. § 12182; (2) defendant’s duty to comply with

the provisions of 42 U.S.C. § 12181 et al; (3) defendant’s duty to remove

architectural barriers at each Facility; and (4) plaintiff’s right to be free from

discrimination due to his disability. 28 U.S.C. § 2201.

13.    Plaintiff seeks an order declaring that he was discriminated against on the

basis of his disability.

                           COUNT II
     REQUEST FOR INJUNCTIVE RELIEF UNDER 42 U.S.C. § 2000a–3(a)

14.    Plaintiff incorporates the above paragraphs by reference.


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15.    Office Depot is a place of public accommodation covered by Title III of the

ADA because it is operated by a private entity, its operations affect commerce, and

it is a sales establishment. 42 U.S.C. § 12181(7); see 28 C.F.R. § 36.104.

16.    Defendant is a public accommodation covered by Title III of the ADA

because it owns, leases (or leases to), or operates a place of public

accommodation. See 42 U.S.C. §§ 12181(7), 12182(a); 28 C.F.R. § 36.104.

17.    Architectural barriers exist which denied plaintiff full and equal access to the

goods and services defendant offers to non-disabled individuals.

18.    Plaintiff personally encountered architectural barriers at the following

facilities:

       a. On April 11, 2018, plaintiff encountered the following barriers at 17335

              Haggerty Rd, Northville, MI 48168:

              i. Men’s Restroom:

                 1. Providing a gate or door with a continuous opening pressure of

                    greater than 5 lbs. exceeding the limits for a person with a

                    disability in violation of 2010 ADAAG §§404, 404.1, 404.2,

                    404.2.9 and 309.4.




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          2. Providing grab bars of improper horizontal length or spacing as

             required along the rear or side wall in violation of 2010 ADAAG

             §§604, 604.5, 604.5.1 and 604.5.2.

          3. Failing to provide the proper spacing between a grab bar and an

             object projecting out of the wall in violation of 2010 ADAAG

             §§609, 609.1 and 609.3.

          4. Failing to provide toilet paper dispensers in the proper position in

             front of the water closet or at the correct height above the finished

             floor in violation of 2010 ADAAG §§604, 604.7 and 309.4.

          5. Failing to provide toilet cover dispenser at the correct height above

             the finished floor in violation of 2010 ADAAG §§606, 606.1 and

             308.

          6. Providing an element or object that protrudes greater than 4” into a

             pathway or space of travel situated between 27” and 80” high in

             violation of 2010 ADAAG §§204, 307, 307.1, 307.2.

          7. Failing to provide the water closet in the proper position relative to

             the side wall or partition in violation of 2010 ADAAG §§604 and

             604.2.




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    b. On April 12, 2018, plaintiff encountered the following barriers at 28512

       Telegraph, Southfield, MI 48034:

       i. Men’s Restroom:

          1. Providing a gate or door with a continuous opening pressure of

             greater than 5 lbs. exceeding the limits for a person with a

             disability in violation of 2010 ADAAG §§404, 404.1, 404.2,

             404.2.9 and 309.4.

          2. Providing a swinging door or gate with improper maneuvering

             clearance(s) due to a wall or some other obstruction that does not

             comply with the standards set forth in 2010 ADAAG §§404, 404.1,

             404.2, 404.2.3, 404.2.4 and 404.2.4.1.

          3. Failing to provide operable parts that are functional or are in the

             proper reach ranges as required for a person with a disability in

             violation of 2010 ADAAG §§309, 309.1, 309.2, 309.3, 309.4 and

             308.

          4. Failing to provide operable parts that are functional or are in the

             proper reach ranges as required for a person with a disability in

             violation of 2010 ADAAG §§309, 309.1, 309.2, 309.3, 309.4 and

             308.


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          5. Failing to provide the proper insulation or protection for plumbing

             or other sharp or abrasive objects under a sink or countertop in

             violation of 2010 ADAAG §§606 and 606.5.

          6. Providing grab bars of improper horizontal length or spacing as

             required along the rear or side wall in violation of 2010 ADAAG

             §§604, 604.5, 604.5.1 and 604.5.2.

          7. Failing to provide toilet paper dispensers in the proper position in

             front of the water closet or at the correct height above the finished

             floor in violation of 2010 ADAAG §§604, 604.7 and 309.4.

          8. Failing to provide toilet cover dispenser at the correct height above

             the finished floor in violation of 2010 ADAAG §§606, 606.1 and

             308.

          9. Providing an element or object that protrudes greater than 4” into a

             pathway or space of travel situated between 27” and 80” high in

             violation of 2010 ADAAG §§204, 307, 307.1, 307.2.

          10.Failing to provide the water closet in the proper position relative to

             the side wall or partition in violation of 2010 ADAAG §§604 and

             604.2.




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19.   Defendant’s policies, practices, or procedures of not training its staff to

identify and reasonably modify its services creates an environment where

individuals with disabilities are not provided goods and services in the most

integrated setting possible.

20.   Defendant has discriminated and continues to discriminate against plaintiff

(and others who are similarly situated) by denying access to full and equal

enjoyment of goods, services, facilities, privileges, advantages, or accommodations

located at each Facility due to the barriers and violations listed in this Complaint.

21.   Defendant has failed to remove some or all of the barriers and violations at

each Facility.

22.   It would be readily achievable for defendant to remove all of the barriers at

each Facility.

23.   Failing to remove barriers to access where it is readily achievable is

discrimination against individuals with disabilities. 42 U.S.C. §§ 12182(a),

12182(b)(2)(A)(iv), and 28 C.F.R. § 36.304.

24.   Defendant’s failure to modify its policies, practices, or procedures to allow

its goods and services to be provided in the most integrated setting is

discriminatory. 42 U.S.C. §§ 12182(a), 12182(b)(2)(A)(iv), and 28 C.F.R. §

36.302.


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                               RELIEF REQUESTED

WHEREFORE, plaintiff respectfully requests that this Court:

A.     declare that each Facility identified in this Complaint is in violation of the

ADA;

B.     declare that each Facility identified in this Complaint is in violation of the

ADAAG;

C.     enter an Order requiring Defendant make each Facility accessible to and

usable by individuals with disabilities to the full extent required by Title III of the

ADA;

D.     enter an Order directing Defendant to evaluate and neutralize its policies,

practices, and procedures towards persons with disabilities;

E.     award plaintiff attorney fees, costs (including, but not limited to court costs

and expert fees) and other expenses of this litigation pursuant to 42 U.S.C. §

12205; and

F.     grant any other such relief as the Court deems just and proper.




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                                       Respectfully Submitted,

                                       BLACKMORE LAW PLC

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Dated: May 23, 2018




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